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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

 DEBORAH LAUFER,
        Plaintiff,

 v.                                                  Case No: 3:20-cv-9193-
                                                     FLW-DEA

 EXTENDED STAY AMERICA
 SOMERSET FRANKLIN,
        Defendant.



                     PLAINTIFF’S MEMORANDUM
                IN OPPOSITION TO MOTION TO DISMISS




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                                PLAINTIFF’S MEMORANDUM
                           IN OPPOSITION TO MOTION TO DISMISS


           Plaintiff, by and through undersigned counsel, hereby submits this

 Memorandum in Opposition to Defendant’s Motion to Dismiss, filed at DE 8.


 I.        Introduction
           As explained in the Original and Amended Complaint Plaintiff is a disabled

 person within the meaning of the Americans With Disabilities Act, 42 U.S.C.

 Sections 12181, et seq. (“ADA”), and relies on a wheelchair or cane to ambulate and

 is vision impaired. Plaintiff is a resident of Florida. In the past, Plaintiff encountered

 frustration when attempting to book rooms at a hotel because so few online

 reservations systems fail to identify or allow for booking of accessible rooms and

 provide little or no information about whether the features at the hotel are accessible.

 In many instances, website claims of “accessibility” prove to be untrue when she

 arrives at the hotel. Id. para. 3. As a result, Plaintiff is an advocate, or “tester”, for

 the purpose of bringing hotel online reservations systems into compliance with the

 law.



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       Defendant books rooms for its hotel through an online reservations system.

 (Hereinafter “websites”, “online reservations systems” or “ORS”.) The purpose of

 this ORS is so that Defendant can reach out and market to persons all over the

 country and in their own homes to solicit their patronage, provide them with

 information so that they can make a meaningful choice in planning trips, and, in

 some instances, book a room at the hotel. As such, the Defendant’s ORS is required

 to comply with the requirements of 28 C.F.R. Section 36.302(e)(1) (hereinafter

 “Regulation”), by identifying and allowing for booking of accessible rooms and

 providing accurate and sufficient information as to whether all the features at the

 hotel are accessible.

       On several different occasions prior to the filing of this lawsuit, Plaintiff

 reviewed the online reservations system for Defendant’s hotel and found that it did

 not comply with the Regulation in any respect. Plaintiff therefore filed the instant

 action for injunctive relief pursuant to the ADA.

       Plaintiff has a system to ensure that she properly maintains standing. She

 maintains a list of all hotels she has sued over ORS violations. She goes through and

 updates this list constantly. With respect to each hotel she sues or has sued, she

 revisits the hotel’s ORS multiple times before a complaint is filed, then again shortly

 after the complaint is filed. When a case is settled, she records the date when the

 ORS is required to be complaint and then revisits it. By this system, Plaintiff ensures

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 that she visits each and every hotel ORS multiple times after she has filed a

 complaint.

       Defendant does not challenge the fact that the websites it uses to accept

 reservations discriminates against disabled persons. Rather, Defendant filed its

 Motion to Dismiss claiming that plaintiff cannot have a cause of action unless she

 stayed at or intended to book a room at the hotel. For the reasons below, Defendant’s

 arguments are without merit.

       Defendant’s motion was directed against Plaintiff’s original Complaint, filed

 at DE 1. Plaintiff filed an Amended Complaint on September 14, 2020. DE 9.

 Plaintiff submits that the filing of the Amended Complaint should moot Defendant’s

 motion to dismiss, which was based exclusively on Fed. R. Civ. P. 12(b)(6),

 challenging the sufficiency of the pleadings. However, out of abundance of caution,

 Plaintiff hereby submits the instant Memorandum.

       For the reasons set forth below, Plaintiff submits that the original Complaint

 sufficiently sets forth a complete cause of action. Under the applicable rules of

 statutory construction and ample case law in support, Plaintiff suffered injury in fact

 when she reviewed Defendant’s discriminatory ORS and nothing more is required.

 In short, she need not intend to visit the subject hotel. Plaintiff’s original Compliant

 is premised on this application of law. Plaintiff’s Amended Complaint contains the

 added information; specifically, that Plaintiff does indeed have plans to travel to the

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 Northern States, including New Jersey, travel throughout the entire State, and stay

 in area hotels.


 II.     Defendant Is A Serial Violator
         Defendant begins its arguments by complaining that Laufer files too many

 lawsuits. What Defendant omits is that Defendant is a serial violator of the law.

 Indeed, Defendant has been sued again and again for failing and refusing to comply

 with the Regulation with respect to its chain of hotels.1 Despite repeated lawsuits,

 and obviously being put on notice that it is operating its chain of hotels in violation

 of the law, and instead of actually bringing its ORS into compliance, Defendant now

 opts to deny the rights of disabled persons to enforce the law. Defendant engages in

 intentional discrimination against disabled persons and the purpose of its motion is

 to immunize itself from the consequences of the law so that it can continue to

 discriminate without consequence.


 III.    The Applicable Standard
         Defendant’s motion is based on Fed. R. Civ. Pro. 12(b)(6).




 1Here   is but a few of the many cases in which Extended Stay America has been sued for
 continued refusal to comply with the Regulation: (1) Laufer v. BRE/ESA P Portfolio, LLC, 6:20-cv-
 6188 (W.D. N.Y.); (2) Laufer v. BRE/ESA P Portfolio, LLC, 1:20-cv-4594 (C.D. Il.); (3) Laufer v.
 BRE/ESA P Portfolio, LLC, 1:20-cv-1973 (D. Md); (4) Kennedy v. BRE/ESA P Portfolio Operating
 Lessee, LLC, 18-cv-62946 (S.D. Fla.); (5) Kennedy v. ESA P Portfolio, LLC, 6:18-cv-00590 (M.D.
 Fla.); (5) Kennedy v. ESA Management, LLC, 9:17-cv81321 (S.D. Fla.); (6) Laufer v. Extended Stay
 America, 3:20-cv-09193 (D.N.J.).

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       Under Fed. R. Civ. P. 12(b)(6), a district court must accept the allegations of

 the complaint as true in a light most favorable to the plaintiff. Roll v. Singh, 2008

 U.S. Dist Lexis 50125 (D.N.J. 2008), citing Gomez v. Toledo, 446 U.S. 635 n. 3

 (1980) and Robb v. City of Phila., 733 F.2d 286, 290 (3rd Cir. 1984).


 IV.   The Pleadings Are Sufficient
       Fed. R. Civ. P. 8 requires that the pleader provide a short and plain statement

 of the claim showing entitlement to relief. Many courts have upheld the sufficiency

 of virtually identical pleadings and have rejected challenges against their

 sufficiency. See, e.g., Kennedy v. New Yorker Hotel Miami, LLC, 18-62897, DE 34

 (S.D. Fla. 6/6/19); and Kennedy v. Murnane, et al., 0:18-cv-63086-WPD, DE 10

 (S.D. Fla. 3/5/19)(denying motion to dismiss).

       Numerous courts have also considered such allegations as sufficient when

 they granted default judgment. See Kennedy v. Excel Hospitality, LLC, 1:20-cv-

 2334, DE 15 (N.D. Il. 7/31/20); and Kennedy v. Rushi Hospitality LLC, 18-cv-

 62259-WPD, DE 26 (S.D. Fla. 2/6/19).


 V.    Defendant’s Argument Is Without Merit
       In its effort to become immune from the law, Defendant argues that a disabled

 plaintiff cannot have a cause of action for encountering a hotel’s discriminatory

 online reservations system unless they intend to visit the hotel. Defendant



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 completely ignores the overwhelming slew of cases, on point, in which numerous

 courts have considered and rejected Defendant’s theory.

          The entire foundation of Defendant’s main argument is misplaced because

 Defendant fails to understand the nature and locus of the injury. Defendant’s entire

 theory is based on the mistaken proposition that the plaintiff can only suffer past and

 future injury-in-fact AT the physical property by encountering physical barriers to

 access or that plaintiff cannot have a cause of action for encountering a

 discriminatory website unless she intended to book a room at the hotel. (Hereinafter

 “physical nexus” requirement.)

          Defendant cites only ONE case in which a court actually held that a plaintiff

 must intend to book a room in order to have a cause of action for ORS

 discrimination: Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. LEXIS

 172456 (N.J. Dist. 2019). 2 Indeed, despite many identical challenges, NO court has

 ruled that Laufer lacks standing.

          Defendant ignores the vast body of authorities which have considered and

 rejected Defendant’s arguments. The arguments raised by Defendant have been



 2   Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-BKS-ML, 2020 U.S. Dist.
 LEXIS 79545 (N.D.N.Y. May 6, 2020); and Laufer v. 1110 Western Albany, LLC, Case No. 1:19-cv-
 01324-BKS-ML, 2020 U.S. Dist. LEXIS 81128 (N.D.N.Y. May 7, 2020), referenced by Defendant
 never issued any actual ruling that Plaintiff lacks standing. The Court (Same judge in both cases)
 merely issued an order requiring briefing on the issue.

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 raised numerous times by others, and have been universally rejected. In Parks v.

 Richard, 2020 U.S. Dist. Lexis 86790 (M.D. Fla. 2020), one court in the Middle

 District of Florida rejected the defendant’s argument that the plaintiff needed to

 intend to book a room at the hotel. First, the court held that the plaintiff sufficiently

 “alleged he suffered an injury in fact by encountering barriers that violate the ADA.”

 Id., at **4-5. The court directly rejected the defendant’s argument that the plaintiff

 lacked standing because he never visited or intended to visit the hotel. The court held

 that the:

        ADA claim is based upon [defendant's] website failing to identify the
        accessible features of the motel and its rooms, in violation of 28 C.F.R. §
        36.302(e)(1)(ii). Therefore, the relevant 'future injury' inquiry relates to the
        motel's website and reservation system, rather than the motel's physical
        property." [Citation omitted.] While Parks may have never visited the motel,
        he visited its website and several third-party sites.

 Id. at *7.

        In Kennedy v. Gold Sun Hospitality, LLC, 8:18-cv-842-T-33CPT, DE 23, at

 pp. 30-31, (M.D. Fla. June 18, 2018), a court in the Middle District rejected a

 physical nexus argument, holding that the plaintiff’s injury occurred in comfort of

 her own home when she visited defendant’s discriminatory hotel website.

        In Kennedy v. Swagath Hospitality, LLC, 0:19-cv-60583-DPG, DE 27 (S.D.

 Fla. 1/2/2020), another court rejected the defendant’s physical nexus argument,

 stating:


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       Plaintiff alleges that (1) she visited Defendant's website to ascertain
       whether it met the requirements of 28 C.F.R. Section 36.302(e), (2) she
       intends to return to the website to test it for compliance and/or to reserve
       a guest room, and (3) Defendant's failure to comply with the Americans
       with Disabilities Act ("ADA") is ongoing and harmful to her..... Based
       on these allegations, the Court finds that Plaintiff has sufficiently
       alleged an injury-in-fact and an intent to the return to the website in the
       future.

       In Kennedy v. Galleon Resort Condominium Assn, Inc., et al., 19-cv-62421-

 CMA, DE 52 (S.D. Fla. 1/28/20), another district court rejected the defendant’s

 arguments (filed at DE 39) that a physical nexus was required between a

 discriminatory ORS and the physical hotel.

       In Kennedy v. WGA, 2:19-cv-0095-RWS, DE 16, p. 9 (N.D. Ga. 11/5/2019),

 one court in the Northern District of Georgia rejected a defendant’s argument (filed

 at DE 5) that the plaintiff lacked standing because she did not intend to use the

 discriminatory ORS to book a room. As the court put it: “[Defendant]’s argument []

 centers on whether [plaintiff] suffered a concrete and particularized injury only from

 visiting [the hotel’s] website and not the physical premises. DE 16, at pp. 7-8. In

 rejecting the defendant’s argument, the court held that: “visiting the website

 suffices” and that “a plaintiff’s inability to fully and effectively use an

 establishment’s website constitutes an injury-in-fact.” Id. at 9. The court further

 stated:

       [T]he Court finds that [plaintiff] has sufficiently alleged an injury-in-
       fact as a result of visiting Lakeside’s deficient website under 28 C.F.R.
       § 36.302(e)(1)(ii). She visited the website to review and assess the
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       accessible features of the Lakeside Inn. Because the website lacked the
       requisite information, she could not determine whether the physical
       location met her accessibility needs. Lakeside thus deprived her of the
       services otherwise available to the general public. These allegations are
       sufficient to establish a past injury for the purposes of standing.
              ....
       As with the past injury, the Court has previously held in a different
       context that alleging an intent to return to a website that threatens
       continued exposure to discrimination is sufficient to establish a threat
       of future injury. [Citation omitted.] Given the finding above that the
       alleged injury stems from [plaintiff’s] visiting Lakeside’s deficient
       website, the Court finds that the relevant inquiry is whether she is likely
       to return to the website again.

 Id. at 9-10, 12.

       In Poschmann v. Fountain TN, LLC, 2019 U.S. Dist. Lexis 159417, **4-6

 (M.D. Fla. 2019), another court rejected similar arguments that intent to visit the

 hotel’s website, alone, was insufficient. The court held that the plaintiff’s ADA

 claim was based on the discriminatory website and, “[t]herefore, the relevant "future

 injury" inquiry relates to the motel's website and reservation system, rather than the

 motel's physical property.” Id.

       In Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist.

 Lexis 87457. *8 (S.D. Fla. 2018), a court recognized the plaintiff’s motive for

 returning to the discriminatory website as either “to determine whether the Hotel is

 accessible to him, and, if so, to reserve a room at the Hotel or to test the Hotel's

 Website reservation system for its compliance with the ADA.” (Emphasis added.)

 By inclusion of the word “or” the court held that motive to review the website solely

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 to test it was sufficient and that intending to book a room is not required. The court

 further held that plaintiff’s injury in fact is demonstrated by the non-compliance of

 the hotel’s website. Id.

         Other courts rejected the defendants’ arguments that a plaintiff lacked

 standing unless she intended to book a room at the hotel. See Kennedy v. New Yorker

 Hotel, Miami, LLC, 0:18-cv-62897-WPD, DE 34 (6/6/19); Kennedy v. Murnane, et

 al., 0:18-cv-63086-WPD, DE 10 (S.D. Fla. 3/5/19); Kennedy v. Italia, LLC, 19–cv-

 61938-COOKE/HUNT, DE 35 (S.D. Fla. 8/10/20)(rejecting nexus argument made

 at DE 17).

         In Kennedy v. Nila Investments, LLC, 2:19-cv-90-LGW-BWC, DE 34 (S.D.

 Ga. 7/1/20), one Georgia court granted default judgment after an evidentiary hearing,

 finding that the plaintiff suffered discrimination when she visited the non-compliant

 ORS. The court additionally found that the plaintiff had standing because she visited

 the ORS both before and after the lawsuit was filed “for the purpose of assessing the

 accessibility features of the property and to ascertain whether those sites met her

 accessibility needs as well as the requirements of 28 C.F.R. § 36.302(e)(1).” Id. at

 p. 5.

         Numerous other courts have held that a disabled person suffers injury-in-fact

 when they visit a hotel’s discriminatory online reservations system. See Kennedy v.

 Sai Ram Hotels, LLC, 2019 U.S. Dist. LEXIS 80111, *4-6 (M.D. Fla. 5/13/19),

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 citing Honeywell v. Harihar Inc., 2018 U.S. Dist. LEXIS 203740,(M.D. Fla. Dec. 3,

 2018) (holding plaintiff's allegations that she visited defendant's website but was

 unable to independently ascertain the accessible features were sufficient to allege an

 injury-in-fact); Kennedy v. Floridian Hotel, Inc., 2018 U.S. Dist. LEXIS 207984, at

 *9 (S.D. Fla. 2018) ("[T]he Court finds that Plaintiff has shown that she suffered an

 injury-in-fact when she encountered the ADA violations on the Website.").

 Poschmann v. Liberty Inn Motel, LLC, 2:18-cv-14348, ECF No. 17 at 4-5 (S.D. Fla.

 Jan. 23, 2019)(court issued ruling on venue holding that injury occurred in plaintiff’s

 home when he visited hotel’s discriminatory online reservations system); Brooke v.

 Hotel Inv. Grp., Inc., 2017 U.S. Dist Lexis 150717, * 6 (D. Ariz. 2017)(holding that

 the plaintiff suffered injury when she visited the hotel’s discriminatory ORS and this

 occurred where she was located when she reviewed the website); Brooke v. Regency

 Inn-Downey, LLC, 2017 U.S. Dist. Lexis 150716 (D. Ariz. 2017)(same). This injury

 occurs in the comfort of the plaintiff’s own home. Gold Sun, at pp. 30-31 (plaintiff’s

 injury occurred in comfort of her own home when she visited defendant’s

 discriminatory hotel website).

       Numerous additional cases support the proposition that viewing a

 discriminatory commercial website constitutes injury in the context of vision

 impairment-based claims. See, e.g. Carroll v. Fedfinancial Fed. Credit Union, 324

 F. Supp. 3d 658, 664 (E.D. Va. 2018); Access Now, Inc. v. Otter Prods., LLC, 280

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 F. Supp. 3d 287, 294 (D. Mass. 2017); Jones v. Piedmont Plus Fed. Credit Union,

 No. 1:17-CV-5214- RWS, 2018 WL 4694362, at *1 (N.D. Ga. Sept. 26, 2018)

 (“Plaintiff suffered a concrete injury when he attempted to access the website but

 was unable to fully and effectively utilize it.”); Jones v. Family First Credit Union,

 No. 1:17-CV-4592-SCJ, 2018 WL 5045231, at *4 (N.D. Ga. Aug. 6, 2018)

 (explaining that the inability to determine a public accommodation’s accessibility

 information via its website constitutes an injury-in-fact because it is “direct exposure

 to differential treatment of a person with a disability.”). For example, in Camacho v.

 Vanderbilt Univ., 2019 U.S. Dist. Lexis 209202, *30 (S.D.N.Y. 2019), one court

 rejected the notion that the plaintiff’s possible visit to the subject property was at

 issue, holding:

       Plaintiff has claimed that he was denied access to the Website, not
       Defendant's physical location itself. Thus, Defendant need not have
       shown that he intended to "return" to Defendant's school in Nashville,
       Tennessee. He is only required to have established a reasonable
       inference that he intended to return to the Website...

 Defendant cites a number of cases involving a plaintiff’s right to sue over violations

 that were only encountered and will be encountered again by the plaintiff’s visit to

 the physical property, i.e., Harty v. Greenwich Hospitality Goup, LLC, 536 F. App’x

 154, 155 (2d Cir. 2013) However, the applicability of physical property violation

 cases to website discrimination cases has been widely rejected. See, e.g. Camacho

 v. Vanderbilt University, 2019 U.S. Dist. Lexis 209202, at *30 (S.D.N.Y. 2019).

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 Indeed, Camacho specifically rejected the applicability of Greenwich Hospitality,

 holding that a defendant’s reference to it “misses the mark”. Id. at 26, 30. In Parks,

 2020 U.S. Dist. Lexis 86790 at *6, the court ruled that the long distance between the

 hotel and the plaintiff’s home weighed in the plaintiff’s favor because hotels cater

 to travelers from afar.3 Numerous other courts have criticized the distance test’s

 applicability to hotels and website discrimination cases. Gold Sun Hospitality, LLC,

 8:18-cv-842, DE 23, pp. 30-31 (holding that plaintiff encounters ORS discrimination

 in the comfort of their own home); Kennedy v. Sai Ram Hotels, 2019 U.S. Dist. Lexis

 80111, * 9 (M.D. Fla. 2019). Another court has held that the distance test not

 applicable to commercial websites (in vision impaired discrimination) because (1)

 website cases do not involve physical locations; and (2) no travel is required.

 Gniewkowski, et al v. Lettuce Entertain You Enterprises, Inc., et al., 251 F. Supp.3d

 908, 920 (W.D. Pa. 2017). “The relevant ‘future injury’ inquiry relates to the

 [hotel’s] website and reservation system, rather than the [hotel’s] physical property.

 Sai Ram, 2019 U.S. Dist. Lexis 80111, at *11.


 3Numerous     other courts have held that the distance test is not applicable in the context of
 hotels because hotels are, by nature, established to accommodate travelers from afar. Bodley v.
 Plaza Management Corp., 550 F.Supp.2d 1085, (D. Ariz. 2008); D’Lil v. Best Western Encina
 Lodge & Suites, 415 F. Supp.2d 1048, 1056 (C.D. Cal. 2006); Access 4 All, Inc. V. Wintergreen
 Commercial P’ship, 2005 WL 2989307, at *4 (N.D. Tex. Nov. 7, 2005); . Access 4 All, Inc. v. 539
 Absecon Blvd., 2006 WL 1804578, at *3 (D.N.J. 2006). Indeed, at least one court has ruled that
 a plaintiff who lives too close to a hotel has no standing to sue for compliance. See Access 4 All,
 Inc. v. Thirty East 30th Street, LLC, 1:04-Civ-3683, DE 36, at 17 (S.D. N.Y. 12/11/06).

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        Defendant cites only one case that actually held a disabled plaintiff must

 intend to book a room in order to maintain a cause of action for online reservations

 service discrimination: Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist.

 LEXIS 172456 (N.J. Dist. 2019). Hernandez is substantially flawed and was never

 appealed. If it had been, it is dubious that Herndandez would have been upheld in

 light of the body of authorities cited in this Memorandum. First, it does not appear

 that the Hernandez court considered the plain language of the statute, the rules of

 statutory construction, Supreme Court case law4, or the overwhelming number of

 other decisions holding to the contrary. Second, the Hernandez court cited two other

 court holdings in support of its proposition that intent to book a room is required.

 However, neither opinion stands for such a holding. One case cited by the Hernandez

 Court is Juscinska v. Paper Factory Hotel, LLC, 2019 U.S. Dist. Lexis 92550

 (S.D.N.Y. 2019). However, the Juscinska court only noted that the plaintiff had the

 intention of booking a room. It never held that such an intent was required. Noting

 that the plaintiff intended to book a room is far different from holding that this is a

 requirement of the law.




 4The Hernandez Court attempted to distinguish ORS cases from the holding set forth by the
 Supreme Court in Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), which will be discussed
 below. Also, for the reasons set forth below, Plaintiff submits that the Hernandez Court’s
 analysis in this regard is critically flawed.

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       The second case cited by the Hernandez Court was Poschman v. Coral Reef

 Of Key Biscayne Developers, Inc., 2018 U.S. Dist. Lexis 87457 (S.D. Fla. 5/22/18).

 However, the Poschmann decision actually stated that solely testing a website

 system for compliance satisfies standing. Poschmann, 2018 U.S. Dist. Lexis 87457

 at *8 (“Plaintiff intends to return to the Website within thirty days to determine

 whether the Hotel is accessible to him, and, if so, to reserve a room at the Hotel or

 to test the Hotel's Website reservation system for its compliance with the

 ADA.”) (emphasis added). By this language, the Poschmann opinion held the exact

 opposite of what the Hernandez court stated. In sum, the Hernandez decision is

 entirely founded on its own misreading of other cases.


      VI. The Rules of Statutory Construction Require That Defendant’s Physical
 Nexus Argument Be Rejected

       It is paramount that the plain words of the Statute and duly promulgated

 Regulation govern. Several general maxims apply. Statutory interpretation always

 “begins with the plain language of the statute.” Jiminez v. Quarterman, 555 U.S.

 113, 118 (2009). “It is well established that, when the statutory language is plain, we

 must enforce it according to its terms.” Id. A court’s “inquiry must cease if the

 statutory language is unambiguous and ‘the statutory scheme is coherent and

 consistent.’" Robinson v. Shell Oil Co., 519 U.S. 337, 340 (1997).



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 “Our duty is to say what statutory language means, not what it should mean, and not

 what it would mean if we had drafted it.” Houston v. Marod Supermarkets, Inc., 733

 F.3d 1323, 1333-34 (11th Cir. 2013), citing T-Mobile South, LLC v. City of Milton,

 Ga., 728 F.3d 1274, 2013 WL 4750549, at *10 (11th Cir. 2013). "We are not at

 liberty to rewrite the statute to reflect a meaning we deem more desirable." Ali v.

 Fed. Bureau of Prisons, 552 U.S. 214, 228 (2008).

       In other words, an interpreting Court must look to the plain language of the

 Statute and Regulation in analyzing whether a disabled person who encounters a

 discriminatory ORS has a cause of action or whether they must ADDITIONALLY

 intend to book a room at the hotel or ADDITIONALLY encounter discriminatory

 conditions located at the physical premises. More significantly, if such additional

 restrictive language is found elsewhere in the Statute, but not in the provisions

 governing the case at bar, such exclusion is dispositive.

        "[W]here Congress includes particular language in one section of a statute
       but omits it in another section of the same Act, it is generally presumed that
       Congress acts intentionally and purposely in the disparate inclusion or
       exclusion."

 INS v. Cardoza—Fonseca, 480 U.S. 421, 432 (1987). See also De Osorio v. United

 States INS, 10 F.3d 1034, 1041 (4th Cir. 1993).

       Plaintiff’s claims are based on the following:

 42 U.S.C. Section 12182(a) provides:


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       The remedies and procedures set forth in section 2000a–3(a) of this title
       are the remedies and procedures this subchapter provides to any person
       who is being subjected to discrimination on the basis of disability in
       violation of this subchapter...
 42 U.S.C. Section 12182(a) provides:

       (a) General rule
       No individual shall be discriminated against on the basis of disability
       in the full and equal enjoyment of the goods, services, facilities,
       privileges, advantages, or accommodations of any place of public
       accommodation by any person who owns, leases (or leases to), or
       operates a place of public accommodation.
 42 U.S.C. Section 12182(b)(2)(A) expands on the definitions of the above subsection

 to include:

       a failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such
       goods, services, facilities, privileges, advantages, or accommodations
       to individuals with disabilities, unless the entity can demonstrate that
       making such modifications would fundamentally alter the nature of
       such goods, services, facilities, privileges, advantages, or
       accommodations
 42 U.S.C. Section 12182(b)(2)(A)(ii).

        This latter subsection is the subject of regulations promulgated by the

 Department of Justice (“DOJ”).5 Specifically, the DOJ promulgated 28 C.F.R.

 Section 36.302(e)(1) (hereinafter “Regulation”), which provides:

        (1) Reservations made by places of lodging. A public accommodation
        that owns, leases (or leases to), or operates a place of lodging shall, with
        respect to reservations made by any means, including by telephone, in-
        person, or through a third party -

 5The DOJ promulgated 28 C.F.R. 36.302 to carry out the provisions of the ADA. Poschmann v.
 Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. LEXIS 87457 *6 (S.D. Fla. May 23,
 2018).

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       (i) Modify its policies, practices, or procedures to ensure that
       individuals with disabilities can make reservations for accessible guest
       rooms during the same hours and in the same manner as individuals
       who do not need accessible rooms;
       (ii) Identify and describe accessible features in the hotels and guest
       rooms offered through its reservations service in enough detail to
       reasonably permit individuals with disabilities to assess independently
       whether a given hotel or guest room meets his or her accessibility
       needs;
       (iii) Ensure that accessible guest rooms are held for use by individuals
       with disabilities until all other guest rooms of that type have been rented
       and the accessible room requested is the only remaining room of that
       type;
       (iv) Reserve, upon request, accessible guest rooms or specific types of
       guest rooms and ensure that the guest rooms requested are blocked and
       removed from all reservations systems; and
       (v) Guarantee that the specific accessible guest room reserved through
       its reservations service is held for the reserving customer, regardless of
       whether a specific room is held in response to reservations made by
       others.


 The Statute and Regulation are directly on point and unambiguously spell out all the

 elements of a cause of action. The plaintiff’s right to injunctive relief is accorded by

 42 U.S.C. Section 12188(a), which provides that: “The remedies and procedures set

 forth in section 2000a–3(a) of this title are the remedies and procedures this

 subchapter provides to any person who is being subjected to discrimination on

 the basis of disability in violation of this subchapter...” (Emphasis added.) A

 disabled person who encounters a non-compliant ORS becomes entitled to relief

 under this provision pursuant to two different subsections “of this subchapter”.



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        First, 42 U.S.C. Section 12182(a) clearly spells out a complete cause of action

 as follows: “No individual shall be discriminated against on the basis of disability in

 the full and equal enjoyment of the ... services ... of any place of public

 accommodation...” A commercial website is a “service” of a place of public

 accommodation. Haynes v. Dunkin Donuts, LLC, 741 Fed. Appx. 752, 754 (11th Cir.

 2018)(unpublished opinion)(describing a commercial website as a “service” of a

 place of public accommodation); Nat’l Fed’n Of The Blind v. Target Corp., 452 F.

 Supp. 946, 953 (N.D. Cal. 2006)(same). Because a hotel’s reservation website

 system is a “service”, all that is required is that a disabled person be deprived of full

 and equal enjoyment of this “service”.6

        Alternatively,42 U.S.C. Section 12182(b)(2)(A) expressly provides that

 “discrimination” includes a violation of 42 U.S.C. Section 12182(b)(2)(A)(ii).

 Because a non-compliant ORS violates this latter subsection, it is therefore

 “discrimination” and thus actionable to “any person” who encounters it.

        The rules of statutory construction mandate a finding that a physical nexus

 requirement can NOT be imposed because any language expressing this requirement

 is conspicuously missing from the above cited Regulation and Statutory subsections.

 As set forth in the following cases, the imposition of substantially similar


 6An online reservations system may also be characterized as a privilege or advantage, also
 referenced in Subsection 12182(a).

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 requirements have been extensively considered and rejected because they were noted

 to be present in other statutes or subsections, but absent from the applicable sections

 or subsections governing the claims before the courts reviewing them.

       In Marod, the Eleventh Circuit held that a disabled tester has standing to

 pursue a Title III ADA case for violations of 42 U.S.C. Section 12182. Generally, it

 held that a plaintiff’s motive and intent are entirely irrelevant and that there is no

 requirement that they be a client or customer or a bona fide customer. In this regard,

 the Eleventh Circuit relied on Supreme Court cases and applied the rules of statutory

 construction.

       Both Marod, 733 F.3d at 1333, and PGA Tour v. Martin, 532 U.S. 661, 678-

 79 (2001), held that an ADA plaintiff suing under 42 U.S.C. Section 12182(a) does

 not have to be a “client or customer” of the defendant. In both cases, the Eleventh

 Circuit and Supreme Court noted that a different subsection of the same statute

 contained a “client or customer” requirement that was not present in the plain

 language of Subsection 12182(a). Therefore, both courts held, the requirement could

 not be applied. Because the “client or customer” language was present in one

 subsection, but missing from the subsection that governed, the requirement could

 not be imposed.

       In PGA Tour, 532 U.S. at 678-79, the defendant had argued that the plaintiff

 had no standing to sue unless he was a “client or customer” of the place of public

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 accommodation. The Court rejected this notion. As the Court observed, the Statute’s

 “client or customer” limitation was set forth in only one Subsection of the Statute,

 but missing from others that governed the case before it. Specifically, Section

 12182(b)(1)(A)(iv) contained the “clients or customers” limitation. However, the

 Subsection at issue in PGA Tour, namely 12182(a)7 did NOT contain this limiting

 language. Therefore, the Court stated that: “clause (iv) is not literally applicable to

 Title III’s general rule prohibiting discrimination against disabled individuals. Title

 III’s broad general rule contains no express “clients or customers” limitation...” PGA

 Tour, 532 U.S. at 679 (citing Subsection 12182(a)). Therefore, as the Supreme Court

 observed, limiting language contained in one Subsection of Title III cannot be

 applied to other Subsections of the same statute where that language is missing.

       This “client or customer” analysis regarding was similarly applied by the

 Marod Court when it held that testers have standing, that they do not need to be a

 client or customer, and that their motive is irrelevant. 733 F.3d at 1333-34. However,

 the Marod Court additionally relied heavily on other similar opinions involving

 different language and applying the rules of statutory construction.

       In Marod, the Eleventh Circuit considered other cases applying other civil

 rights statutes. Among these was Havens Realty Corp. v. Coleman, 455 U.S. 363



 7Subsection   12182(a) is the same Subsection that governs the instant action.

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 (1982), discussed by the Marod Court at 733 F.3d at 1330. As noted by Marod

 regarding Havens:

       The Supreme Court concluded that a black tester who was misinformed
       about the availability of a rental property had alleged sufficient injury-
       in-fact to support standing to sue under § 804(d) of the FHA. Id. at 374,
       102 S. Ct. at 1121-22. The plaintiff-tester in Havens Realty never
       intended to rent the apartment; rather, his sole purpose was to determine
       whether the defendant engaged in unlawful practices. Id.


    In considering the tester's standing, the Supreme Court in Havens Realty

 explained that the "'the actual or threatened injury required by Art. III may exist

 solely by virtue of statutes creating legal rights, the invasion of which creates

 standing." Id. at 373, 102 S. Ct. at 1121 (alterations adopted) (quoting Warth v.

 Seldin, 422 U.S. 490, 500, 95 S. Ct. 2197, 2206, 45 L. Ed. 2d 343 (1975)); see also

 Linda R.S. v. Richard D., 410 U.S. 614, 617 n.3, 93 S. Ct. 1146, 1148 n.3, 35 L. Ed.

 2d 536 (1973) ("Congress may enact statutes creating legal rights, the invasion of

 which creates standing, even though no injury would exist without the statute."). The

 statutory language of the relevant FHA provision, § 804(d), was therefore critical to

 the Supreme Court's decision. Havens Realty, 455 U.S. at 373, 102 S. Ct. at 1121.

 Marod, 733 F.3d at 1330. The Court also noted:

       The Supreme Court therefore concluded that § 804(d) "establishes an
       enforceable right to truthful information concerning the availability
       of housing" and "[a] tester who has been the object of a
       misrepresentation made unlawful under § 804(d) has suffered injury in
       precisely the form the statute was intended to guard against, and

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       therefore has standing to maintain a claim for damages under the Act's
       provisions." [Citation omitted.]


 The Supreme Court admonished "[t]hat the tester may have approached the real

 estate agent fully expecting that he would receive false information, and without

 any intention of buying or renting a home, does not negate the simple fact of

 injury within the meaning of § 804(d)." Id. at 374; 102 S. Ct. at 1121. The Supreme

 Court explained that "[w]hereas Congress, in prohibiting discriminatory refusals to

 sell or rent in § 804(a) of the Act, 42 U.S.C. § 3604(a), required that there be a 'bona

 fide offer' to rent or purchase, Congress plainly omitted any such requirement insofar

 as it banned discriminatory representations in § 804(d)." Havens Realty, 455 U.S. at

 374; 102 S. Ct. at 1122.Marod, 733 F.3d at 1330-31 (emphasis added).

       The case at bar is substantially similar to Havens Realty. Under Havens

 Realty, the plain language of the statute gave a right of action to a civil rights tester

 who encountered discriminatory information about an apartment even though

 they did not intend to rent the apartment. In other words, it was not necessary

 that the person intended to rent or visit the physical location. Rather, encountering

 the discriminatory information was sufficient.

       In Marod, the Court also noted that other anti-discrimination statutes required

 that a plaintiff have “bona fide” status. Marod, 733 F.3d at 1333. Because the bona



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 fide requirement was contained in other statutes, but not included in the applicable

 provisions of 42 U.S.C. 12182, its requirement could not be imposed. Id.

       In Havens Realty, the Supreme Court applied the same rule of statutory

 construction, noting that a requirement that a plaintiff be a “bona fide patron” was

 included in one subsection of the applicable statute, but missing from the subsection

 that applied to the case before it. Therefore, the bona fide requirement did not apply.

 Havens Realty, 455 U.S. at 374.

       In Marod, the Court stated:

       These examples illustrate that Congress has said so expressly when it
       wants to limit the class of people protected by anti-discrimination
       statutes to only clients or customers or to people of bona fide status.
       But Congress expressed no such limitation in the parts of Title III that
       are relevant to Plaintiff Houston's lawsuit. This absence of legislative
       language restricts our interpretation, as we are "not allowed to add or
       subtract words from a statute."

 733 F.3d at 1333-34.

       The ability or inability to obtain information in violation of a statute was

 recognized as an actionable injury by the Supreme Court in Federal Election

 Commission v. Akins, 524 U.S. 11, 20-25 (1998), which ruled that a group of voters'

 "inability to obtain information" that Congress had decided to make public is a

 sufficient injury in fact to satisfy Article III. In this regard the Supreme Court stated:

       Indeed, this Court has previously held that a plaintiff suffers an "injury
       in fact" when the plaintiff fails to obtain information which must be
       publicly disclosed pursuant to a statute. Public Citizen v. Department
       of Justice, 491 U.S. 440, 449, 105 L. Ed. 2d 377, 109 S. Ct. 2558 (1989)
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       (failure to obtain information subject to disclosure under Federal
       Advisory Committee Act "constitutes a sufficiently distinct injury to
       provide standing to sue").

 524 U.S. at 21.

       Informational injury has been recognized in this Circuit. See, e.g., In re

 Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74 (3rd Cir. 2016)

 (recognizing intangible harm as including unlawful denial of access to information

 subject to disclosure). Indeed, the Hernandez court addressed the Nickelodeon

 ruling by ignoring it entirely.

       Various district courts within the Third Circuit have recognized informational

 injury as cognizable where Congress had created a statute creating that right. See

 Kaymark v. Udren Law Offices, P.C., 2016 U.S. Dist. Lexis 171061 (W.D. Pa.

 2016)(holding that debtor’s right to truthful information under the Fair Debt

 Collection Practices Act was one where Congress had elevated to the status of a

 legally cognizable injury); Cartmell v. Credit Control, LLC, 2020 U.S. Dist. Lexis

 4136 ** 30-33 (E.D. Pa. 2020)(holding that a plaintiff had standing to sue for receipt

 of “truthful information” under the FDCPA even though the statute of limitations

 had passed on the debt at issue and he had not intention to pay it. The Court held that

 the plaintiff’s “receipt of the [untruthful] letter was itself the informational harm the

 FDCPA was enacted to prevent.); Berry v. John Dor Managers, 1991 U.S. Dist.

 Lexis 10159 *10 (E.D. Pa. 1991), (testers who falsely represented their status

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 nonetheless had standing to sue for receipt of misleading information under the Fair

 Housing Act); Tonge v. Fundamental Labor Strategies, Inc., 277 F.Supp. 3d 809,

 820-21 (E.D. Pa. 2017)(plaintiff had standing to sue for deprivation of right to

 truthful information under Fair Debt Reporting Act despite lack of additional injury).

 In Newark Branch, NAACP v. Clifton, 1990 U.S. Dist Lexis 17512, **20-22 (D.N.J.

 1990), one court surveyed civil rights cases holding that a court need not inquire as

 to whether a job applicant actually indented to take the job for which they applied.

       The Hernandez Court distinguished itself from Havens Realty by reasoning

 that in Havens Realty “the plaintiff[] actually experienced differential treatment

 based on a characteristic protected by statute[,]” and that a “tester without disabilities

 would have encountered the same difficulty in assessing the accessible features of

 [the hotel].” Id. at 10-11. In this regard, the Hernandez Court misread Havens Realty.

 In both Havens Realty and in ORS cases filed by a disabled plaintiff, the plaintiff

 had a statutorily created right to receive truthful information and the plaintiffs were

 members of the class the statute intended to protect.

       On this point, the Seventh Circuit in Carello v. Aurora Policemen Credit

 Union, 930 F. 3d 830, 832-33 (7th Cir. 2019) explained the basis by which the

 Hernandez’ analysis is flawed. As explained in Carello, the issue for applicability

 and recognition of purely informational injury is whether the statute at issue requires

 that the defendant provide the relevant information to the plaintiff. In the case at bar,

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 the statute and applicable Regulation do exactly this. They require that an ORS

 provide accessibility information and option to book at room to disabled persons,

 the class of which this plaintiff is a member.

       Under the above cited cases, an ADA plaintiff does not have to be a client or

 customer or a bona fide customer and his motive or intent are entirely irrelevant. All

 that is required is that they encounter discrimination within the plain meaning of the

 words of the statute. This includes discrimination in the form of information without

 any visit or intent to visit the property which is the subject of that information. There

 is no additional requirement that they intend to use or visit the physical property,

 unless the applicable statutory provisions expressly say so. Thus, there is no room

 left to reach an interpretation that a disabled plaintiff must intend to book a room at

 a hotel, or actually visit the hotel, before they can have a cause of action for a

 discriminatory online reservations system. Any language imposing such a

 requirement is completely absent. Neither the general provision of 42 U.S.C. Section

 12182(a), the definition of “discrimination” under 42 U.S.C. Section

 12182(b)(2)(A)(ii), nor the Regulation contain any such requirement. To the

 contrary, failure by the Defendant to make its online reservations system compliant

 with the Regulation constitutes “discrimination” within the meaning of Subsection

 12182(b)(2)(A)(ii). This then is prohibited by the general provision of Subsection

 12182(a) because the disabled person is deprived of full and equal access to a

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 service. It does not then matter whether an ADA tester intended to do anything more

 than what is set forth in the statute. The words “no individual shall be discriminated

 against...” means that any disabled person who encounters a discriminatory service

 has a cause of action, regardless of whether they are a tester and regardless of their

 intent. Moreover, Subsection 12188's granting of injunctive relief to “any person

 who is being subjected to discrimination” cannot be interpreted to impose any

 requirements that would reduce “any person” to “only some people”.

       To the extent there is any room for doubt, there is in fact another subsection

 of the Statute which DOES contain language imposing a physical nexus

 requirement. 42 U.S.C. Section 12182(b)(2)(A)(i) prohibits:

       “the imposition or application of eligibility criteria that screen out or
       tend to screen out an individual with a disability or any class of
       individuals with disabilities from fully and equally enjoying any goods,
       services, facilities, privileges, advantages, or accommodations...”
       (Emphasis added.)

       In that Subsection, the word “from” is critical because its insertion in the

 Subsection means that a disabled person’s encounter with discriminatory eligibility

 criteria by itself does not give rise to a cause of action unless and until that criteria

 prevents them “from” full and equal access to goods or services. This word,

 however, is conspicuously absent from either the Statute’s Subsections or the

 Regulation that govern online reservations systems. Because an ORS is a “service”

 of the place of public accommodation, and failure to comply with the Regulation

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 qualifies as “discrimination”, then nothing more is necessary. When a disabled

 person encounters a non-compliant ORS, he has been “discriminated against on the

 basis of disability in the full and equal enjoyment of ... services, ..., privileges,

 advantages...”

        The Supreme Court’s opinion in Bates v. United States, 522 U.S. 23, 29 (1997)

 is helpful. In Bates, the Supreme Court held that the requirement of intent could not

 be imported from one section of a statute (where it was included) into another section

 of the statute where it was omitted. For this same reason, the imposition of the

 requirement that plaintiff intend to book a room or visit the hotel is improper.

        Thus, the plaintiff has standing and there is no additional requirement that

 they actually visit the hotel or intend to book a room. In short, the Plaintiff’s

 encounter with the discriminatory website IS the injury.

        The Supreme Court’s recent decision in Spokeo, Inc. v. Robins, 136 S. Ct.

 1540 (2016) supports this conclusion. In Spokeo, the Supreme Court held that

 improper information which violated the Fair Credit Reporting Act did not, by itself,

 constitute injury8. However, the Spokeo Court specifically recognized the existence




 8Itshould be noted that the Fair Credit Reporting Act was intended to protect one class of
 persons, debtors, from incorrect information provided to a different class of persons, creditors.
 By contrast, in anti-discrimination statutes such as the ADA, the injury occurs when the disabled
 person receives the discriminatory information from the defendant.

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 of statutes which provide that the dissemination of improper information constitutes

 an injury with nothing more required. In this regard, the Spokeo Court stated:

        Just as the common law permitted suit in such instances, the violation
        of a procedural right granted by statute can be sufficient in some
        circumstances to constitute injury in fact. In other words, a plaintiff in
        such a case need not allege any additional harm beyond the one
        Congress has identified. See Federal Election Comm’n v. Akins, 524 U.
        S. 11, 20-25, 118 S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (confirming that
        a group of voters’ “inability to obtain information” that Congress had
        decided to make public is a sufficient injury in fact to satisfy Article
        III); Public Citizen v. Department of Justice, 491 U. S. 440, 449, 109
        S. Ct. 2558, 105 L. Ed. 2d 377 (1989) (holding that two advocacy
        organizations’ failure to obtain information subject to disclosure under
        the Federal Advisory Committee Act “constitutes a sufficiently distinct
        injury to provide standing to sue”).

 Spokeo, 136 S.Ct. At 1549-50. In the Akins decision referenced by Spokeo, the

 Supreme Court, in turn, referenced Havens Realty as follows:

        Indeed, this Court has previously held that a plaintiff suffers an "injury
        in fact" when the plaintiff fails to obtain information which must be
        publicly disclosed pursuant to a statute..... See also Havens Realty
        Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982) (deprivation of
        information about housing availability constitutes "specific injury"
        permitting standing).

 Akins, 524 U.S. at 21. Thus, the Spokeo Court neither overturned nor narrowed

 Havens Realty, but instead acknowledged the body of law to which Havens Realty

 belongs.9 Indeed, the concurring opinion in Spokeo expressly recognized Havens


 9InMarod, passim, this Circuit Court found substantial similarities between the ADA and the
 statute at issue in Havens Realty with regard to the issue of standing and the lack of any motive
 requirement of the individual plaintiff.

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 Realty. Spokeo, 136 S.Ct. at 1553 (Thomas J., Concurring). Havens Realty was also

 recognized in Spokeo’s dissent. 136 S.Ct. At 1555 (Ginsburg, J. Dissenting).

       Applied to the case at bar, the Regulation unambiguously requires that hotel

 online reservations services provide certain information and the option to book

 accessible rooms to disabled persons, such as the plaintiff. The failure in this regard

 constitutes “discrimination”. 42 U.S.C. Section 12182(b)(2)(A). Thus, Congress and

 the DOJ have created an injury in fact when a disabled person encounters a non-

 compliant ORS.


 VII. Defendant’s Reference To Griffin Is Unavailing
      Defendant cites Griffin v. Dep't of Labor Fed. Credit Union, 912 F.3d 649

 (4th Cir. 2019). However, the Defendant completely overlooks the disclaimer set

 forth in Griffin that its holding was confined to circumstances where the plaintiff

 was legally barred from becoming a member of the defendant’s exclusive credit

 union. Id., at 653. The court specifically stated that it was not considering “the rights

 generally of people with disabilities to sue for Internet-based harms under the ADA”.

 912 F.2d at 653. The context in which Griffin fits in with the law is illustrated by the

 Seventh Circuit’s opinion in Carello v. Aurora Policemen Credit Union, 930 F. 3d

 830, 832-33 (7th Cir. 2019) , which followed and expressly stated its holding was

 “no broader” than Griffin. Significantly, the Carello Court distinguished itself from

 the sorts of websites applicable to the case at bar, stating: “Carello does not complain

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 that the Credit Union withheld information....” Id. at 835 (emphasis added). Thus,

 the Carello Court expressly distinguished the statute at issue therein with the type of

 statute and regulation at issue herein - which require the disclosure of certain

 information and an option to book. Indeed, the Carello Court recognized that

 informational injury is actionable when the defendant fails to provide information to

 a plaintiff that a law entitles him to obtain and review for some substantive purpose.

 Id. at 835. “Once that occurs, there is no additional requirement that the plaintiff

 suffer any additional harm beyond his or her failure to receive the information that

 the law renders subject to disclosure. Id., citing Spokeo, Inc. v. Robins, 136 S. Ct.

 1540 (2016). Specifically, the Carello Court stated:

       An informational injury occurs when the defendant refuses to provide
       the plaintiff with information that a law—typically, a sunshine law—
       entitles him to obtain and review for some substantive purpose. See,
       e.g., Fed. Election Comm'n v. Akins, 524 U.S. 11, 21, 24-25, 118 S. Ct.
       1777, 141 L. Ed. 2d 10 (1998) (concluding that voters' inability to
       obtain information subject to disclosure under the Federal Election
       Campaign Act of 1971 is a sufficiently concrete injury); Pub. Citizen v.
       U.S. Dep't of Justice, 491 U.S. 440, 449, 109 S. Ct. 2558, 105 L. Ed. 2d
       377 (1989) (explaining that, to satisfy Article III's injury requirement,
       advocacy organizations requesting information subject to disclosure
       under the Federal Advisory Committee Act need only show "that they
       sought and were denied" the information); Casillas v. Madison Ave.,
       Assoc., 926 F.3d 329,] 337-38 [(7th Cir. 2019)] ("[Akins and Public
       Citizen] hold that the denial of information subject to public disclosure
       is one of the intangible harms that Congress has the power to make
       legally cognizable." (emphasis omitted)). In such cases, a plaintiff
       "need not allege any additional harm beyond" his failure to receive
       information that the law renders subject to disclosure. Spokeo, 136 S.
       Ct. at 1549.

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          In this regard, Carello squarely establishes that this Court must recognize

 Plaintiff’s right to sue. The Regulation was promulgated for the purpose of providing

 a right of this plaintiff and other disabled persons to the right to book a room and

 further requiring the provision of specific information regarding accessibility at a

 hotel.


 VIII. Defendant’s Reference To Crupar-Weinmann is unavailing
       Defendant’s reliance to Crupar-Weinmann v. Paris Baguette Am., Inc., 861

 F.3d 76 (2nd Cir. 2017), is unavailing. There, the Second Circuit recognized that:

 “After all, as "Congress is well positioned to identify intangible harms that meet

 minimum Article III requirements, [and] its judgment is also instructive and

 important," Congress "may 'elevat[e] to the status of legally cognizable injuries

 concrete, de facto injuries that were previously inadequate in law.'” Id. at 80. The

 Second Circuit noted that: “A central inquiry, then, is whether the particular bare

 procedural violation may present a material risk of harm to the underlying concrete

 interest Congress sought to protect.” Id. at 80-81. For example, the Crupar-

 Weinmann case involved the inclusion of credit card expiration dates on certain

 information, which was expressly recognized as not increasing the risk of harm (of

 identity theft) that the statute was intended to prevent. Id. 81-82. By contrast, the

 Regulation and ADA were designed to guard against a hotel providing

 discriminatory information to disabled persons (or failing to provide them with the

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 required information). The disabled person is the member of the protected class and,

 when he or she reviews a non-compliant ORS, they suffer discrimination and are

 deprived of less than full and equal access to the hotel’s service. When a disabled

 person reviews a hotel’s website that fails to allow for booking of accessible rooms

 and fails to provide the information required about accessibility, the harm of

 discrimination actually occurs.


 IX.   Testers Have Standing
       Two circuit courts have recognized the standing of ADA testers. Colo. Cross-

 Disability Coalition v. Abercrombie & Fitch Co., 765 F.3d 1205, 1211 (10th Cir.

 2014), citing Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1333-34 (11th

 Cir. 2013). As explained in Marod, the ADA affords injunctive relief to “any person

 who is being subjected to discrimination”. 42 U.S.C. Section 12188(a). 42 U.S.C.

 Section 12182(a) provides that “No individual shall be discriminated against on the

 basis of disability....” The Marod Court compared these all-encompassing terms to

 the language of the statute at issue in Havens Realty, in reaching the conclusion that

 testers have standing. Marod, passim. As such, the disabled person’s motive is

 entirely irrelevant because all that matters is whether they encountered

 discrimination as defined by plain words the Statute. Marod, passim.

       Moreover, courts have widely recognized the public policy served by

 plaintiffs acting as “private attorneys general” in enforcing the provisions of the

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 ADA. See Hensley v. Eckerhart, 461 U.S. 424, 445(1983) (“All of these civil rights

 laws depend heavily upon private enforcement, and fee awards have proved an

 essential remedy if private citizens are to have a meaningful opportunity to vindicate

 the important Congressional policies which these laws contain.”); Pierson v. Ray,

 386 U.S. 547, 558, 87 S. Ct. 1213, 1219-20 (1967) (deliberate exercise of a right

 does not deprive § 1983 plaintiffs of standing); Bruce v. City of Gainesville, 177

 F.3d 949, 952 (11th Cir. 1999); Mallory v. Harkness, 923 F.Supp 1546, 1551 (S.D.

 Fla. 1996) (“Congress intended Section 1988 to prompt plaintiffs to act as citizen

 enforcers or private attorneys general advancing our nation civil rights objectives

 and vindicating the liberty of all citizens.”). “Civil rights law depends heavily on

 private enforcement. Moreover, the inclusion of penalties and damages is the

 driving force that facilitates voluntary compliance with the ADA.” Parr v. L & L

 Drive-Inn Restaurant, 96 F.Supp.2d 1065, 1082 (D. Hawaii 2000). Courts have

 noted: “As a result, most ADA suits are brought by a small number of private

 plaintiffs who view themselves as champions of the disabled. For the ADA to yield

 its promise of equal access for the disabled, it may indeed be necessary and desirable

 for committed individuals to bring serial litigation advancing the time when public

 accommodations will be compliant with the ADA.” Molski v. Evergreen Dynasty

 Corp., 500 F.3d 1047, 1062 (9th Cir. 2007); D'Lil v. Best Western Encina Lodge &

 Suites, 538 F.3d 1031, 1040 (9th Cir. 2008). See also Harry MackLowe Real Estate

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 Co., 6 F.3d at 904 (acknowledging testers right to enforce private attorney general

 statute).

        The result of a private attorney general statute such as the ADA is that “[i]t is

 not unprecedented in this country for advocacy groups and individual members of

 advocacy groups to find it necessary to file a long trail of lawsuits in federal courts

 to enforce legal and civil rights.” Marod, 733 F.3d at 1326.

        Other courts have held that status a tester “plausibly increases the likelihood

 that he or she will visit the [defendant’s] website again to test its ADA compliance.”

 Kennedy v. Sai Ram Hotels, 2019 U.S. Dist. Lexis 80111, * 9 (M.D. Fla. 2019),

 citing Gold Sun Hospitality, LLC, No. 8:18-cv-842-T-33CPT, DE 23, pp. 31-32. See

 also Access 4 All, Inc. v. Absecon Hospitality Corp., 2006 WL 3109966, *17 (D.N.J.

 2006). Marod, 733 F.3d at 1336 (explaining that plaintiff’s status as a tester indicated

 that he would revisit the property many times and therefore tended to show a real

 and immediate threat of future injury).

        In cases such as Juscinska, which discuss a plaintiff’s intent to go to the hotel,

 such discussion is typically in the context of the court’s assessment of the plausibility

 that the plaintiff would return to the website. In other words, what reason does the

 plaintiff have to revisit the hotel’s ORS. For instance, in Poschmann, 2018 U.S. Dist.

 Lexis 87457 at *8, the court held that returning to the website to book a room is one

 valid reason and checking it for compliance with the Regulation is another.

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       In Camacho, the defendant had challenged plaintiff’s intent on the basis that

 he had filed 50 similar complaints regarding the websites of schools all over the

 country. 2019 U.S. Dist. Lexis 209202, at *29. The court addressed this argument as

 follows:

       Defendant notes that Plaintiff's allegation that he "intends to visit
       Defendant's school in the near future if he could visit their website" is
       present in many, if not all, of the other complaints. []. From this,
       Defendant urges the Court to intuit that this allegation, as it appears in
       the Second Amended Complaint, should be discredited. []. If Plaintiff
       were to visit each of the schools named in those complaints, he would
       be forced to travel to 42 cities across 19 states. []. Doubting the
       feasibility of such an expansive college tour, Defendant argues that the
       Second Amended Complaint does not adequately plead an intent to visit
       Defendant's school, and thus has not alleged facts that make it
       "reasonable to infer that Plaintiff's expressed intent to return to the
       Property is likely to materialize into fact sometime in the future." []
       Defendant's argument, built around citations to cases involving ADA
       claims relating to access to physical locations, misses the mark.
       Plaintiff has claimed that he was denied access to the Website, not
       Defendant's physical location itself. Thus, Defendant [sic] need not
       have shown that he intended to "return" to Defendant's school in
       Nashville, Tennessee. He is only required to have established a
       reasonable inference that he intended to return to the Website, and the
       Court has found that this requirement is met. To the extent it is relevant,
       Plaintiff has also clarified that he does not intend to visit each of the
       schools against which he has filed complaints. [] Rather, he wishes to
       visit each of the schools' websites, learn more about them, and then
       make an informed choice regarding which schools it would be worth
       visiting in person. []. The Court does not doubt that it would be
       plausible for Plaintiff to visit the websites of all 50 schools, if they were
       accessible.




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 Id. at. ** 29-31. Thus, regardless of whether or not the plaintiff intends to visit the

 subject property, the real issue is whether or not the plaintiff intends to visit the

 website.

       Critically, in the instant case, the Plaintiff has a system whereby she maintains

 and constantly updates a list of all hotels she has sued regarding their online

 reservations systems. She makes sure she visits the ORS in each case shortly after

 the respective complaint is filed, then again when the defendant is required to bring

 its ORS into compliance with the law. Thus, she ensures that she either will again

 suffer injury if the defendant does not comply with the law, or will benefit if the

 defendant does indeed comply. Under Parks, 2020 U.S. Dist. Lexis 86790, at *7,

 this suffices to establish standing.


 X.    Plaintiff Intends to Book A Room In New Jersey Hotels
       Although it is not necessary, Plaintiff has filed an Amended Complaint

 describing her intent to visit and travel throughout the State of New Jersey. Thus,

 Plaintiff will be staying in area hotels located throughout the state when she visits.

 The failure of this and so many other hotels to allow for booking of accessible rooms

 and failure to provide information about whether or not the features at the hotels are

 even accessible makes it difficult for Plaintiff to make meaningful choices because

 she is deprived of the information she needs. Id.



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 XI.   Conclusion
       For the foregoing reasons, Defendant’s Motion is without merit and should be

 denied.


                                      Respectfully submitted,
                                      /s/Tristan W. Gillespie

                                      Tristan W. Gillespie, Esq.
                                      THOMAS B. BACON, P.A.




 CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of September, 2020, a copy of the
 foregoing Memorandum in Opposition to the Motion to Dismiss was filed
 electronically and served on all counsel of record via the Court’s CM/ECF system.


                                      /s/ Tristan W. Gillespie




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